47 F.3d 1164
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Willie BAILEY, Jr., Plaintiff--Appellant,v.P. Douglas TAYLOR, Warden, Defendant--Appellee.
    No. 94-6956.
    United States Court of Appeals, Fourth Circuit.
    Submitted Feb. 7, 1995.Decided March 1, 1995.
    
      Willie Bailey, Jr., Appellant Pro Se.  Sandra J. Senn, STUCKEY &amp; KOBROVSKY, Charleston, SC, for Appellee.
      Before WILKINS, HAMILTON, and WILLIAMS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his 42 U.S.C. Sec. 1983 (1988) complaint.  Our review of the record and the district court's opinion accepting the recommendation of the magistrate judge discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Bailey v. Taylor, No. CA-93-2898-2-6AJ (D.S.C. July 29, 1994).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    